Case: 1:12-cv-04428 Document #: 632-1 Filed: 06/21/18 Page 1 of 8 PageID #:34384



 	
 	

 	
 	
 	
 	

 	
 	
 	




           EXHIBIT	A	
Case: 1:12-cv-04428 Document #: 632-1 Filed: 06/21/18 Page 2 of 8 PageID #:34385
 William Dorsch, 4/14/2015

                                                                                   1
              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ILLINOIS
                        EASTERN DIVISION
    JACQUES RIVERA,                        )
                                           )
                        Plaintiff,         )
                                           )
                 vs.                       )    No. 12 C 4428
                                           )
    REYNALDO GUEVARA, STEVE                )
    GAWRYS, DANIEL NON, JOHN               )
    GUZMAN, JOSEPH FALLON,                 )
    JOSEPH SPARKS, PAUL                    )
    ZACHARIAS, GILLIAN                     )
    McLAUGHLIN, JOHN LEONARD,              )
    EDWARD MINGEY, RUSSELL                 )
    WEINGART, and the ESTATE               )
    OF ROCCO RINALDI, Chicago              )
    Police Detectives; and the             )
    CITY OF CHICAGO,                       )
                                           )
                        Defendants.        )
                 The deposition of WILLIAM DORSCH, taken
   pursuant to the Federal Rules of Civil Procedure,
   before Nicole M. Cheney, Certified Shorthand
   Reporter No. 084-0004744, at 321 North Clark
   Street, Suite 2200, Chicago, Illinois, on Tuesday,
   April 14, 2015, commencing at 10:40 a.m., pursuant
   to subpoena.
           APPEARANCES:
                 LOEVY & LOEVY, by
                 MR. RUSSELL R. AINSWORTH
                 (312 North May Street, Suite 100
                  Chicago, Illinois 60607
                  312.243.5900
                  russell@loevy.com)
                    appeared on behalf of the plaintiff;

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 Case: 1:12-cv-04428 Document #: 632-1 Filed: 06/21/18 Page 3 of 8 PageID #:34386
     William Dorsch, 4/14/2015

                                                                               398
 1          Q.      And where it says, Spoke to victim's

 2    wife at 1530 hours 23 December, does that refresh

 3    your recollection of actually speaking to the

 4    victim's wife?
      06:43PM 5        A.    No.
 6          Q.    Okay. Have you seen -- are you aware

 7    that Mr. Vargas, the witness who's referred to in

 8    this case as the one who pointed -- picked out the

 9    photograph, are you aware that Mr. Vargas has been
      06:43PM 10 interviewed by the State's Attorney's Office in
11    this case?

12          A.      Yes.

13          Q.      Who told you that?

14          A.      I think that was part of what I saw.
      06:43PM 15          Q.    Okay.
16          A.      I think. Yes.

17          Q.      So, in addition to the file that you

18    were sent by Northwestern, you were also sent

19    documents from the State's Attorney's Office
      06:44PM 20 reflecting an interview or interviews with
21    Mr. Vargas; is that correct?

22                      Can you mark this, please?

23          MS. ROSEN:      You need to answer the question.

24          THE WITNESS:       What question?




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 Case: 1:12-cv-04428 Document #: 632-1 Filed: 06/21/18 Page 4 of 8 PageID #:34387
     William Dorsch, 4/14/2015

                                                                               399
1            MR. GIVEN:      Answer my question.

2            THE WITNESS:      What is it?

3            MR. GIVEN:      You know what, let's mark it, and

4     then I'll ask you again.

5                              (Deposition Exhibit No. 17,

6                                Witness Dorsch, was marked for

7                                identification 04/14/2015.)

8     BY MR. GIVEN:

9           Q.      Can you take a quick look at
      06:44PM 10    Exhibit 17, please?
11          A.      Okay.

12           Q.     And I won't ask you to read them right

13    now.   I just want you to take a quick look and tell

14    me: Have you seen these documents before?
      06:44PM 15       A.    Yes.
16          Q.   And were these documents included in

17    the package that you received from Northwestern,

18    whenever you received it, from whoever you received

19    it?
      06:45PM 20          A.   Yes.
21          Q.      Okay. So when I asked you earlier if

22    you had anything other than the investigative file

23    and you told me, no, in fact, you also had these

24    documents, correct?




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 Case: 1:12-cv-04428 Document #: 632-1 Filed: 06/21/18 Page 5 of 8 PageID #:34388
     William Dorsch, 4/14/2015

                                                                               400
1             A.    Well, I assumed this was part of the

2     same thing.

3             Q.    Oh, I see.     Okay.

4                    Did you review these as well?
      06:45PM 5         A.    No, not these. I was only interested
6     in what might have my name on it.

7             Q.    So you received these documents, but

8     you didn't read them?      I just want to be clear.

9           A.    Yes.
      06:45PM 10        Q.    Okay. So today is the first day that,
11    if I asked you to read them, it would be the first

12    time you would actually have read what's in these

13    documents?

14          A.    Correct.
      06:45PM 15        Q.    And prior to today, has anybody told
16    you that Mr. Vargas and Mr. Nelson were interviewed

17    by the State's Attorney's Office?

18            A.    No.

19          Q.      Haven't had any discussions with anyone
      06:45PM 20    about what they might have said?
21          A.      No.

22            Q.    Nobody from Northwestern told you?

23            A.    They told me they thought this was the

24    case.




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 Case: 1:12-cv-04428 Document #: 632-1 Filed: 06/21/18 Page 6 of 8 PageID #:34389
     William Dorsch, 4/14/2015

                                                                               401
 1          Q.      Okay.    Northwestern thought this was

 2    the case?

 3          A.      Yeah.

 4          Q.    Okay. Have any discussions with
      06:46PM 5 Mr. Ainsworth about this file and whether it is
 6    or isn't the case?

 7          A.      I have said all along -- I mean, since

 8    seeing this, I said there's too many discrepancies.

 9          Q.      I know. My question was: Have you had
      06:46PM 10    any questions with Mr. Ainsworth --
11          A.      No.

12          Q.      -- anybody from Loevy & Loevy about it?

13          A.      No.

14          Q.      Who from Northwestern told you they
      06:46PM 15    thought this was the case?
16          A.      Karen Daniel, you know, when I was

17    there.

18          Q.      Okay.    Have you had any discussions

19    with Karen Daniel, since she told you that, to tell
      06:46PM 20 her you thought she's wrong?
21          A.    No.

22          Q.      Okay.    So I take it you're not aware

23    that Mr. Vargas has said that he does not

24    remember -- that, in fact, no police officer tried




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 Case: 1:12-cv-04428 Document #: 632-1 Filed: 06/21/18 Page 7 of 8 PageID #:34390
     William Dorsch, 4/14/2015

                                                                               402
1     to guide him to pick out any photographs or told

2     him what to say or do?      You're not aware of that?

3           A.     Is that the handwritten?

4           Q.    That's the affidavit on the front page
      06:47PM 5 that is 27106, third paragraph down: I remember
6     looking at photos. No police officer tried to

7     guide me to pick out any photos or told me what to

8     say or do.

9           A.     No, I have no recollection.
      06:47PM 10         Q.    You have not --
11          A.     I didn't see it -- or I didn't look at

12    it.

13          Q.     Okay.    So today, right now, is the

14    first time you've heard that -- that you have any
      06:47PM 15 awareness that Mr. Vargas said what he said in this
16    affidavit; is that correct?

17          A.     Yes.

18          Q.     And the same would be true for the

19    handwritten affidavit that follows in the next
      06:47PM 20 three pages?
21          A.    Yes.

22          Q.     Okay.    Let me ask you -- and that --

23    the same is true for all the pages, all the

24    documents in this exhibit?       They were sent to you,




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     William Dorsch, 4/14/2015

                                                                               403
1     but you didn't look at them or read them; is that

2     right?

3           A.     Correct.

4           Q.    Okay. Did you see that one of the
      06:48PM 5 documents that was sent to you that you didn't look
6     at was a photograph?

7           A.     I don't know if I -- I don't think I

8     even looked at it.

9           Q.     Okay.    Well, are you --

10         A.      Yeah.

11         Q.      -- looking at it now, 27110?

12                     Do you recognize that person?

13         A.      No.

14          Q.     Okay.
      06:48PM 15           A.     This is supposed to be a 15-year-old
16    kid?

17         Q.      No.   That would be Spanky, Sam Perez.

18         A.      No idea.

19          Q.    Okay. So, in the case that you were
      06:48PM 20 talking about in the two postconviction
21    proceedings, is it fair to say that you didn't

22    really follow the truth wherever it led you

23    regardless, correct?

24         MR. AINSWORTH:       Object to the form of the




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